18 F.3d 752
    UNITED STATES of America, Plaintiff-Appellee,v.Ray CARLISLE, Defendant-Appellant.
    No. 90-10582.
    United States Court of Appeals,Ninth Circuit.
    March 8, 1994.
    
      On Remand from the United States Supreme Court.
      Before:  GOODWIN, SKOPIL, and FERGUSON, Circuit Judges.
    
    ORDER
    
      1
      Pursuant to a writ of certiorari, the Supreme Court has vacated this court's disposition of this case --- U.S. ----, 114 S.Ct. 872, 127 L.Ed.2d 70 and remanded it for further consideration in light of Ratzlaf v. United States, 510 U.S. ----, 114 S.Ct. 655, 126 L.Ed.2d 615 (1994).
    
    
      2
      Upon due consideration, the Memorandum disposition filed June 22, 1992, is withdrawn and the judgment of the district court is reversed.  The case is remanded to the district court for further proceedings.
    
    
      3
      REVERSED and REMANDED.
    
    